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                                8                         UNITED STATES DISTRICT COURT
                                9                       CENTRAL DISTRICT OF CALIFORNIA
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                               11   LAURIE K. ENGEL,                            CASE NO.: 2:20-cv-00245-MWF (PJWx)
                               12
                                                 Plaintiff,                     ORDER FOR DISMISSAL OF
Northridge, California 91324




                               13
 KANTOR & KANTOR LLP




                                                                                ACTION WITH PREJUDICE
  19839 Nordhoff Street

       (818) 886 2525




                               14         vs.
                               15   FARMERS GROUP, INC., PLAN
                               16   ADMINISTRATOR FOR THE
                                    FARMERS GROUP, INC.
                               17   EMPLOYEES’ PENSION PLAN and
                               18   WILLIS NORTH AMERICA INC. dba
                                    WILLIS TOWERS WATSON,
                               19                                               Complaint Filed: January 9, 2020
                               20                Defendants.
                               21
                               22         Pursuant to the stipulation of the Parties, the above-entitled action is hereby
                               23   dismissed with prejudice. Each party shall bear its or her own fees and costs.
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                               26   DATED: November 9, 2020                       ____________________________
                                                                                  Hon. Michael W. Fitzgerald
                               27                                                 U.S. District Court Judge
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                                                ORDER FOR DISMISSAL OF ACTION WITH PREJUDICE
